                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK



SUZANNA BOWLING,


                       Plaintiff,                    Case No. 1:17-cv-03982-AJN


       v.


JOHNSON & JOHNSON and McNEIL
NUTRITIONALS, LLC,

                       Defendants.


              PARTIES’ JOINT NOTICE OF ACCEPTANCE OF
       DEFENDANT McNEIL NUTRITIONALS, LLC’S OFFER OF JUDGMENT

       Pursuant to Rule 68(a) of the Federal Rules of Civil Procedure, Plaintiff Suzanna

Bowling (“Plaintiff”) and Defendant McNeil Nutritionals, LLC’s (“Defendant”) (together, the

“Parties”), by and through their undersigned counsel, hereby notify the Court that Plaintiff has

accepted Defendant’s Offer of Judgment dated November 15, 2019, attached hereto as Exhibit A.

Plaintiff’s written notice accepting the offer dated November 27, 2019 is attached hereto as

Exhibit B. An affidavit of service of the Offer of Judgment dated -DQXDU\, 20 is attached

hereto as Exhibit C. The Parties accordingly request, pursuant to Rule 68 and the terms specified

in the Offer, that the Clerk of Court enter judgment against Defendant in the amount of Five

Thousand Dollars ($5,000) as Plaintiff’s total recovery, which sum includes all claims for

reasonable costs accrued to the date of the offer.
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cc:   Hon. Debra Freeman
      Magistrate Judge
      United States Courthouse
      500 Pearl Street
      New York, NY 10007




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